          Case 2:18-cv-00561-APG-NJK Document 59 Filed 10/15/20 Page 1 of 1




 1                              UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3 BRETT R. PRIMACK,                                      Case No.: 2:18-cv-00561-APG-NJK

 4          Plaintiff                                                    Order

 5 v.

 6 OHIO SECURITY INSURANCE
   COMPANY,
 7
        Defendant
 8

 9         The proposed joint pretrial order on plaintiff Brett Primack’s remaining breach of

10 contract claim is overdue.

11         I THEREFORE ORDER the parties to file a proposed joint pretrial order by November 6,

12 2020. Failure to comply may result in the remaining claim being dismissed with prejudice.

13         DATED this 15th day of October, 2020.

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                                                        ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
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